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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                        Case No. 1:20−cr−183

   v.                                      Hon. Robert J. Jonker

ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,

         Defendants.
                                      /



                           NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been rescheduled
as set forth below:


Motion(s):             Motion for Acquittal (ECF No. 630)
                       June 30, 2022 02:00 PM
Date/Time:             (previously set for 6/14/22)
Chief Judge:           Robert J. Jonker
Place/Location:        699 Federal Building, Grand Rapids, MI




                                      ROBERT J. JONKER
                                      Chief United States District Judge

Dated: May 25, 2022             By:    /s/ Susan Driscoll Bourque
                                      Case Manager
